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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


     ARMSTRONG, et al.,                                Civil Action No.
                   Plaintiffs,                         2:12-CV-3319-SDW-SCM
     v.
                                                       SUPPLEMENTAL
     ANDOVER SUBACUTE AND REHAB                        SCHEDULING ORDER
     CENTER SERVICES ONE, INC. et al.,
             Defendants.

          IT IS on this Monday, February 25, 2019 ordered that the Scheduling Order is

   hereby supplemented as follows:

   1. A telephone conference is scheduled with Magistrate Judge Mannion on 4/25/2019 at
      3:30 PM. Defendant(s)' counsel is to initiate the call. Eight days before that date,
      counsel shall file a joint agenda letter (up to 3 pages) itemizing the issues, if any, to
      be discussed at the upcoming conference.

   2. Fact discovery is to remain open through 5/31/2019. Discovery should be produced
      on a rolling basis. All fact witness depositions must be completed by the close of fact
      discovery. No fact discovery is to be issued or engaged in beyond that date, except
      upon application to the Court and for good cause shown.

   3. No discovery motion or motion for sanctions for failure to provide discovery shall be
      made without prior leave of Court. Counsel “shall confer” in good faith and attempt
      to informally resolve any discovery disputes before seeking the Court’s intervention.
      L.Civ.R. 37.1(a). Should informal efforts fail within 10 days of the occurrence of the
      dispute (and for disputes over paper discovery, no later than 120 days after the R16
      conference), the dispute shall immediately be brought to the Magistrate Judge’s
      attention via a joint dispute letter filed on ECF not to exceed 6 pages that sets forth:
      (a) the request; (b) the response; (c) efforts to resolve the dispute; (d) why the
      complaining party believes the information is relevant and why the responding
      party’s response continues to be deficient; and (e) why the responding party believe
      the response is sufficient. If the dispute is complex (e.g., concerns privilege, undue
      burden, or privacy) counsel shall also file briefs and supporting affidavits along with
      their joint dispute letter. Courtesy paper copies must be delivered to chambers.
      Thereafter, the Court will schedule a telephonic discovery conference pursuant to
      Fed. R. Civ. P. 26(f) if necessary to resolve the dispute. See L. Civ. R. 16.1(f).

   4. The parties have a continuing obligation to supplement and amend their initial
      disclosures. The names and subject of expected testimony of all affirmative expert
      witnesses shall be delivered no later than 30 days before the end of fact discovery.
      The names and subject of expected testimony of all responding expert witnesses shall
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      be delivered no later than 10 days after the date due for the affirmative expert
      report(s), provided such report(s) have been served.

         a. All affirmative expert reports shall be delivered by 7/19/2019.

         b. All responding expert reports shall be delivered by 5/31/2019.

         c. Deposition of expert(s) to be completed within 30 days of receiving their
            respective reports.

   5. FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY
      SUBSEQUENT SCHEDULING ORDERS ENTERED BY THIS COURT MAY
      RESULT IN SANCTIONS. See Fed.R.Civ.P. 16(f) and 37.




                                                    2/25/2019 2:22:07 PM


   Original: Clerk of the Court
   Hon. Susan D. Wigenton, U.S.D.J.
   cc: All parties
       File
